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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
         BOYSIN RALPH LORICK and                                        Case No. 16-45645 (NHL)
         CYNTHIA THERESA LORICK,                                        Chapter 11

                                    Debtors.
-----------------------------------------------------------X
                             ORDER DISMISSING CHAPTER 11 CASE
        On May 8, 2018, the United States Trustee of Region 2, William K. Harrington, having

filed a motion pursuant to 11 U.S.C. § 1112(b) seeking to convert this case to one under chapter

7 and granting such other relief as this Court deems proper (“Motion”) [ECF 249]; and due

notice of the Motion having been given; and a hearing on the motion having been held on March

7, 2019, at which appeared Nazar Khodorovsky (U.S. Trustee), Karamvir Dahiya (Counsel to

Debtors), Norma E. Ortiz (Former Counsel to Debtors), and Boysin Lorick (Debtor); and that the

Court having determined that dismissal was preferable to conversion in this case; and the

Debtors having filed a Notice of Settlement of Proposed Order, to which Soleyman Ghalchi filed

a limited objection (“Objection”); and Ortiz & Ortiz, LLP and the Debtors having filed responses

to the Objection; and the Court having held a hearing on the Objection and the responses thereto

on March 28, 2019 (the “Hearing”), at which the Objection was overruled; and it having been

shown to the satisfaction of the Court that cause exists under 11 U.S.C. § 1112(b) for dismissal;

and upon the record of the Hearing and of this entire case; and after due deliberation and

sufficient cause appearing therefor; it is hereby

        ORDERED, that this chapter 11 case is DISMISSED; and it is further

        ORDERED, that the receiver Douglas Rosenberg shall forthwith issue a certified check,

of remaining sum of monies in his account pertaining to the estate, payable to Dahiya Law
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Offices, LLC as an escrow agent for the Debtors, Boysin Ralph Lorick and Cynthia Theresa

Lorick (the “Debtors”); and it is further

          ORDERED, that the Debtors pay to the United States Trustee the appropriate sum

required, if any, pursuant to 28 U.S.C. § 1930 and any applicable interest thereon, within five (5)

days of the entry of this Order and simultaneously provide to the United States Trustee an

appropriate affidavit indicating the cash disbursements, if any, for the relevant period; and it is

further

          ORDERED, that the Court appointed escrow agent for the estate, Ortiz and Ortiz LLP

shall forthwith issue an escrow check of the remaining balance of the monies held for the estate

of the Debtors to Dahiya Law Offices, LLC as escrowee for the Debtors; and it is further

          ORDERED, that Ortiz & Ortiz LLP is allowed a fee of $5,800.00 as a final allowance

for her role as a Court appointed escrow agent and the same shall be deducted from the estate

proceeds; and it is further

          ORDERED, that this Court shall retain jurisdiction over the implementation of and

enforcement of the provisions of this Order.




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 Dated: March 29, 2019                                               Nancy Hershey Lord
        Brooklyn, New York                                      United States Bankruptcy Judge
